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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                         )
                                                     )
                                 Plaintiff,          )
                                                     )
                        vs.                          )       1:10-cr-00003-SEB-DML
                                                     )
   SHANON GAMMONS,                                   )                  -13
                                                     )
                                 Defendant.          )
                                                     )
                                                     )
                                                     )

                 ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed Magistrate Judge Mark J. Dinsmore’s Report and Recommendation that

 Shanon Gammons’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and

 Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, The Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders a

 sentence imposed of imprisonment of four (4) months in the custody of the Attorney General or

 his designee, with no supervised release to follow. The Court orders that the Defendant self-

 surrender upon designation of the Bureau of Prisons.

 SO ORDERED.

                         2/29/2016



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